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 1 SULLIVAN HILL REZ & ENGEL
     A Professional Law Corporation
 2 Shannon D. Sweeney, SBN 204868
     Michael A. Zarconi, SBN 288970
 3 E-mail: Sweeney@sullivanhill.com
     600 B Street, Suite 1700
 4 San Diego, California 92101
     Telephone: (619) 233-4100
 5 Fax Number: (619) 231-4372

 6 Attorneys for Defendants,
     MARK A. WILLIS; BEYOND REVIEW, LLC;
 7 IMAGE ENGINE, LLC; and WILLIS GROUP, LLC

 8
                                UNITED STATES DISTRICT COURT
 9
                             SOUTHERN DISTRICT OF CALIFORNIA
10
     ENSOURCE INVESTMENTS LLC,                     )   CASE NO. 17CV0079 H LL
11 a Delaware limited liability                    )
     company,                                      )   DECLARATION OF
12                                                 )   SHANNON D. SWEENEY IN
                             Plaintiff,            )   SUPPORT OF SUPPLEMENTAL
13                                                 )   BRIEF (In Response to the Court’s
     v.                                            )   12/16/19 Order)
14                                                 )
     THOMAS P. TATHAM, an                          )
15 individual; MARK A. WILLIS, an                  )
     individual; PDP MANAGEMENT                    )   JUDGE: Hon. Marilyn L. Huff
16 GROUP, LLC, a Texas limited                     )
     liability company; TITLE ROVER,               )
17 LLC, a Texas limited liability                  )
     company; BEYOND REVIEW,                       )
18 LLC, a Texas limited liability                  )
     company; IMAGE ENGINE, LLC, a                 )
19 Texas limited liability company;                )
     WILLIS GROUP, LLC, a Texas                    )
20 limited liability company; and DOES             )
     1-50,                                         )
21                                                 )
                                                   )
22                           Defendants.           )
23               I, Shannon D. Sweeney, declare as follows:
24               1.    I am an attorney duly admitted to practice before this court. I am a
25 shareholder in the law firm of Sullivan Hill Rez & Engel, A Professional Law

26 Corporation (hereafter “Sullivan Hill”), counsel of record for Defendants, MARK A.

27 WILLIS; BEYOND REVIEW, LLC; IMAGE ENGINE, LLC; and WILLIS GROUP,

28 LLC. I make this declaration based on matters within my personal knowledge, and if

     408051-v1                                                              Case No. 17CV0079-H-LL
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 1 called, would and could testify to the matters stated herein.

 2               2.    Attached hereto as Exhibit A is a true and correct copy of an email
 3 exchange between me and Bonnie McKnight, counsel for Plaintiff, wherein Plaintiff

 4 agreed to stipulate to bifurcation.

 5               3.    Attached hereto as Exhibit B is a true and correct copy of the Third
 6 Amended and Restated Company Agreement of Hopewell-Pilot Project, LLC dated

 7 September 1, 2016 (Final Version, fully executed).

 8               4.    Attached hereto as Exhibit C is a true and correct copy of the Hopewell-
 9 Pilot Project, LLC Subscription Agreement executed on or about September 29, 2016.

10               I declare under penalty of perjury under the laws of the United States of
11 America that the foregoing is true and correct.

12               Executed this 10th day of January 2020 at San Diego, California.
13                                                     s/ Shannon D. Sweeney
                                                       Shannon D. Sweeney, Esq.
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     408051-v1                                                               Case No. 17CV0079-H-LL
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      Ensource Investments, LLC. v. Thomas P. Tatham, et al.
      CASE NO. 17CV0079 H LL


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  K of the Tax Code, as amended from time to time.

                                            ARTICLE II
                                            Organization

         Section 2.1 Formation. The Company has been organized as a Texas limited liability
  company by the filing of Certificate of Formation (the "Certificate") under and pursuant to the
  Code and the issuance of a certificate of formation for the Company by the Secretary of State of
  Texas.

        Section 2.2 Name. The name of the Company is "HOPEWELL - PILOT PROJECT,
  LLC", and all Company business must be conducted in that name or such other names that
  comply with applicable law as the Board may select from time to time.

          Section 2.3 Registered Office; Registered Agent; Principal Office in the United States;
  Other Offices. The registered office of the Company required by the Code to be maintained in
  the State of Texas shall be the office of the registered agent of the Company. TI1e registered
  agent of the Company in the State of Texas shall be the initial registered agent named in the
  Certificate or such other Person or Persons as the Board may designate from time to time in the
  manner provided by law. The principal office of the Company in the United States shall be at
  such place as the Board may designate from time to time, which need not be in the State of
  Texas, and the Company shall maintain records there as required by Section 3.151 of the Code.
  The Company may have such other offices as the Board may designate from time to time.

          Section 2.4 Purposes. The sole purpose of the Company shall be to conduct the
  Company Business and all activities incidental to the Company Business in accordance with the
  applicable provisions of the Code, including, but not limited to: (i) entering into, performing,
  enforcing, and carrying out contracts of any kind necessary or desirable to, or in connection with,
  or incidental to the Company Business or, accomplishing the general purposes of the Company,
  (ii) acquiring oil, gas and mineral leases, mineral interests, royalty interests, top leases, and
  options in the Area of Mutual Interest and (iii) borrowing money and issuing evidence of
  indebtedness, and securing the same by mortgage, deed of trust, pledge, or other lien, in
  furtherance of the Company Business.

          Section 2.5 Term. The existence of the Company commenced on the date the Secretary
  of State of Texas issued a certificate of formation for the Company and shall continue in
  existence for the period fixed in the Certificate for the duration of the Company, or such earlier
  time as this Agreement may specify.

         Section 2.6 Foreign Qualification. Prior to the Company's conducting business in
  any jurisdiction other than Texas, the Board, if required by the laws of such jurisdiction, shall
  cause the Company to comply, to the extent procedures are available and those matters are
  reasonably within the control of the Board, with all requirements necessary to qualify the
  Company as a foreign limited liability company in that jurisdiction. At the request of the Board,
  each Member shall execute, acknowledge, swear to, and deliver all certificates and other
  instruments conforming with this Agreement that are necessary or appropriate to qualify,



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                  i)                                           to




                  i)       amount                 to




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         within sixty (60) days after the date of the earliest dated consent delivered to the
         Company in the manner required by this Section, a consent or consents signed by the
         holder or holders of not less than the minimum Membership Interests that would be
         necessary to take the action that is the subject of the consent are delivered to the
         Company by delivery to its registered office or its principal place of business. Delivery
         shall be by hand or certified or registered mail, return receipt requested. A telegram,
         cablegram or similar transmission by a Member, or a photographic, photostatic, facsimile
         or similar reproduction of a writing signed by a Member shall be regarded as signed by
         the Member for purposes of this Section. Prompt notice of the taking of any action by
         Members without a meeting by less than unanimous written consent shall be given to
         those Members who did not consent in writing to the action.

                 (b)     The record date for determining Members entitled to consent to an action
         in writing without a meeting shall be the first date on which a signed written consent
         setting forth the action taken or proposed to be taken is delivered to the Company by
         delivery to its registered office or its principal place of business. Delivery shall be by
         hand or by certified or registered mail, return receipt requested,

                 (c)     Members may participate in and hold a meeting by means of conference,
         telephone or similar communications equipment by means of which all Persons
         participating in the meeting can hear each other, and participation in such meeting shall
         constitute attendance and presence in person at such meeting, except where a Person
         participates in the meeting for the express purpose of objecting to the transaction of any
         business on the ground that the meeting is not lawfully called or convened.

                                            ARTICLE IX
                                           Indemnification

          Section 9.1    Exculpation,     Neither any Manager, any Member nor any Person
  appointed to act as liquidator under Article XII ( each a "Covered Person") shall be liable to the
  Company or any Member under any theory of law, including tort, contract or otherwise
  (INCLUDING A COVERED PERSON'S 0\1/N NEGLIGENCE) for any loss, damage or claim
  incurred by reason of any act or omission by such Covered Person in good faith on behalf of the
  Company and in a manner reasonably believed to be within the scope of authority conferred on
  such Covered Person by this Agreement, including any such loss, damage or claim attributable to
  errors in judgment, negligence or other fault of such Covered Person, except that a Covered
  Person shall be liable for any such loss, damage or claim incurred by reason of gross negligence,
  willful misconduct, intentional misrepresentation or breach of duty of loyalty of such Covered
  Person. A Covered Person shall be fully protected in relying in good faith upon the records of
  the Company and upon such information, opinions, reports or statements presented to the
  Company by any Person as to matters the Covered Person reasonably believes are within such
  other Person's professional or expert competence and who has been selected with reasonable
  care by or on behalf of the Company, including information, opinions, reports or statements as to
  the value and amount of the assets, liabilities, profits, losses or any other facts pertinent to the
  existence and amount of assets from which distributions to Members might properly be paid.




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          Section 9.2     Right to Indemnification, Subject to the limitations and conditions as
  provided in this Article IX, each Manager who was or is made a party or is threatened to be made
  a party to or is involved in any threatened, pending or completed action, suit or proceeding,
  whether civil, criminal, administrative, arbitrative or investigative (hereinafter a ''Proceeding"),
  or any appeal in such a Proceeding or any inquiry or investigation that could lead to such a
  Proceeding, by reason of the fact that he or she is acting on behalf of the Company or was
  serving at the request of the Company as a manager, officer, partner, venturer, proprietor, trustee,
  employee, agent, or similar functionary of another foreign or domestic limited liability company,
  corporation, partnership, joint venture, sole proprietorship, trust, employee benefit plan or other
  enterprise, shall be indemnified by the Company to the fullest extent permitted by the Code, as
  the same exist or may hereafter be amended (but, in the case of any such amendment, only to the
  extent that such amendment permits the Company to provide broader indemnification rights than
  said law permitted the Company to provide prior to such amendment) against judgments,
  penalties (including excise and similar taxes and punitive damages), fines, settlements and
  reasonable expenses (including, without limitation, attorneys' fees) actually incurred by such
  Manager in connection with such Proceeding, and indemnification under this Article IX shall
  continue as to a Person who has ceased to serve in the capacity which initially entitled such
  Person to indemnity hereunder. The rights granted pursuant to this Article IX shall be deemed
  contract rights, and no amendment, modification or repeal of this Article IX shall have the effect
  of limiting or denying any such rights with respect to actions taken or Proceedings arising prior
  to any such amendment, modification or repeal. It is expressly acknowledged that the
  indemnification provided in this Article IX could involve indemnification for negligence of
  the Manager or under theories of strict liability.

         Section 9.3    Advance Payment.        The right to indemnification conferred in this
  Article IX shall include the right to be paid or reimbursed by the Company the reasonable
  expenses incurred by the Manager of the type entitled to be indemnified under Section 9.1 who
  was, is or is threatened to be made a named defendant or respondent in a Proceeding in advance
  of the final disposition of the Proceeding and without any determination as to the Manager's
  ultimate entitlement to indemnification; provided, however, that the payment of such expenses
  incurred by any such Manager in advance of the final disposition of a Proceeding, shall be made
  only upon delivery to the Company of a written affirmation by such Manager of his or her good
  faith belief that he has met the standard of conduct necessary for indemnification under this
  Article IX and a written undertaking, by or on behalf of such Manager, to repay all amounts so
  advanced if it shall ultimately be determined that such indemnified Manager is not entitled to be
  indemnified under this Article IX or otherwise.

          Section 9.4    Indemnification of Officers, Employees and Agents. The Company, by
  adoption of a resolution of a Majority Interest, may indemnify and advance expenses to any other
  manager, officer, employee or agent of the Company to the same extent and subject to the same
  conditions under which it may indemnify and advance expenses to Managers under this
  Article IX; and, the Company may indemnify and advance expenses to Persons who are not or
  were not Managers, officers, employees or agents of the Company but who are or were serving at
  the request of the Company as a manager, officer, partner, venturer, proprietor, trustee,
  employee, agent of similar functionary of another foreign or domestic limited liability company,
  corporation, partnership, joint venture, sole proprietorship, trust, employee benefit plan or other



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      as




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          Section 13.8 Further Assurances.          In connection with this Agreement and the
  transactions contemplated hereby, each Member shall execute and deliver any additional
  documents and instruments and perform any additional acts that may be necessary or appropriate
  to effectuate and perform the provisions of this Agreement and those transactions.

         Section 13.9 Waiver of Certain Rights. Each Member irrevocably waives any right it
  may have to maintain an action for the winding up of the Company or for partition of the
  property of the Company.

          Section 13.10 Indemnification. To the fullest extent permitted by law, each Member
  shall indemnify the Company, and each other Member and hold them harmless from and against
  all losses, costs, liabilities, damages, and expenses (including, without limitation, costs of suit
  and attorney's fees) they may incur on account of any breach by that Member of this Agreement
  or on account of any business activities conducted by that Member or its affiliates prior to the
  Effective Date of this Agreement.

          Section 13.11 Notice to Members of Provisions of this Agreement. By executing this
  Agreement, each member acknowledges that it has actual notice of (a) all of the provisions of
  this Agreement, including, without limitation, the restrictions on the transfer of Membership
  [nterests set forth in Article III, and (b) all of the provisions of the Certificate. Each Member
  hereby agrees that this Agreement constitutes adequate notice of all such provisions, and each
  Member hereby waives any requirement that any further notice thereunder be given.

         Section 13./2 Counterparts. This Agreement may be executed in any number of
  counterparts with the same effect as if all signing parties had signed the same document. All
  counterparts shall be construed together and constitute the same instrument.

         Section 13.13 Cross-references. References in this Agreement to Articles, Sections,
  Exhibits, or Schedules shall be deemed to be references to Articles, Sections, Exhibits, and
  Schedules of this Agreement unless the context specifically and expressly requires otherwise.

         Section 13.14 Legal Representation. Each Member hereby acknowledges that the
  Members have been advised that the Members should seek and have had the opportunity to seek
  independent legal counsel to review this Agreement and all related documents on the Member's
  behalf and to obtain the advice of such legal counsel relating to such documentation. Each
  Member further acknowledges and agrees that the law firm of Doherty & Doherty LLP are legal
  counsel solely to Willis Group, LLC with respect to this Agreement.

         Section 13.15 Construction. Whenever the context requires, the gender of all words
  used in this Agreement includes the masculine, feminine, and neuter. Except to the extent the
  context specifically indicates otherwise, all references to Certificate and Sections refer to articles
  and sections of this Agreement, and all references to Exhibits refer to Exhibits attached hereto,
  each of which is made a part hereof for all purposes.

                                           [Signature Pages Follow]




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        IN WITNESS WHEREOF, the Managers and Members have executed this Agreement as
 of Effective Date.

                                       MANAGERS:

                                           ~~~
                                             Mark A. Willis


                                       4uu iP~
                                             Thomas P. Tatham

 Member Signatures Follow:

 FOUNDING MEMBERS:

                                       HOPEWELL WILLIS HOLDINGS LLC




                                       WILLIS GROUP, LLC




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                              MEMBER SIGNATURE PAGE


          The undersigned Member of HOPEWELL - PILOT PROJECT, LLC, a Texas limited
 liability company (the "Company"}, does hereby execute this signature page to be attached to
 that certain Third Amended and Restated Company Agreement for the Company and agrees to
 be bound by all of the terms and provisions of such Agreement.



                                                       Hopewell Willis Holdings, LLC

                                                      By:            __/c._/
                                                              ------c--    ~
                                                            Mark A. Willis

                                                      Address: 1400 Post Oak Blvd. Suite 200
                                                               Houston, TX 77027




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                              MEMBER SIGNATURE PAGE


          The undersigned Member of HOPEWELL - PILOT PROJECT, LLC, a Texas limited
 liability company (the "Company"), does hereby execute this signature page to be attached to
 that certain Third Amended and Restated Company Agreement for the Company and agrees to
 be bound by all of the terms and provisions of such Agreement.




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                              MEMBER SIGNATURE PAGE


          The undersigned Member of HOPEWELL- PILOT PROJECT, LLC, a Texas limited
 liability company (the "Company"), does hereby execute this signature page to be attached to
 that certain Third Amended and Restated Company Agreement for the Company and agrees to
 be bound by all of the terms and provisions of such Agreement.




                                                      ::.~ili;sz;~_
                                                          Thomas P. Tatham, Managing Director

                                                      Address: 1400 Post Oak Blvd. Suite 200
                                                               Houston, TX 77056




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                              MEMBER SIGNATURE PAGE


          The undersigned Member of HOPEWELL- PILOT PROJECT, LLC, a Texas limited
 liability company (the "Company"), does hereby execute this signature page to be attached to
 that certain Third Amended and Restated Company Agreement for the Company and agrees to
 be bound by all of the terms and provisions of such Agreement.



                                                      EnSource Investments, LLC
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                                                      By:    (A4j~>          /      (7   lC~y;;?/
                                                                     Pannu, Manager
                                                               ~Justin
                                                             e ;.            :;:;
                                                                           rfrr1z1~
                                                      Address: 700 W. E Street, #3804
                                                               San Diego, CA 92101




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                                            SCHEDULE A
                                          Member Information



     Name and Address             Founders-   Initial             Initial           Capital            Adjusted
      of Each Member               Shares   Ownership           Additional       Contribution         Ownership
                                            Percentage            Equity_            Paid          Percentage after
                                                                 Shares**          for Initial-     issue of Initial
                                                                                  Additional-         Additional
                                                                                 Eguity Shares     Eguity Shares***

Willis Group Members:

Hopewell Willis Holdings,
LLC
1400 Post Oak Blvd.                450,000          45%            50,000       $100,000               34.25%
Suite 200
Houston, TX 77056

Willis Group LLC
1400 Post Oak Blvd.                225,000         22.5%                                               15.41%
Suite 200
Houston, TX 77056

Tatham Group Members:

Hopewell Tatham Holdings
LLC                               112,500         11.25%                                                7.71%
1400 Post Oak Blvd.
Suite 200
Houston, TX 77056

LNG Partners, LLC
600 Travis St.                    112,500         11.25%                                                7.71%
Suite 5900
Houston, TX 77002

Mark A. Bush                      100,000           10%                                                 6.84%
5868 Westheimer, Apt 458
Houston, TX 77057




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         Initial New Members:

Gil Lopez III                                                      25,000       $50,000                    1.71%
16522    Champions       Cove
Circle
Spring, TX 773 79

Michael Casey Foran                                                17,500       $35,000                    1.20%
200 Lamont Ave.
San Antonio, TX 78209

Foran Ltd.                                                         12,500       $25,000                    0.86%
200 Lamont Ave.
San Antonio, TX 78209

Michael T. Willis                                                  15,000       $30,000                    1.03%
1400 Post Oak Blvd.
Suite 200
Houston, TX 77056

South Padre Gas Partners,                                          25,000       $50,000                    1.71%
L.P.
10 S. Briar Hollow Ln., #30
Houston, TX 77027

Thomas Trent Stout                                                 50,000       $100,000                   3.42%
231 Bryn Mawr Cir.
Houston, TX 77024


EnSource Investments, LLC                                         265,000       $530,000                   18.15%


Totals                            1,000,00          100%          460,000       $920,000                   100%
                                  0


     * 1,000,000 Founders Shares allocated among Willis Group Members, Tatham Group Members and
     Mark A. Bush
     **Initial Additional Equity Shares subscribed by Founding Members and Initial New Members
     *** Rounded to nearest 1/100 th of one per cent (.01%)




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                                 HOPEWELL-PILOT PROJECT, LLC

                               INITIAL ADDITIONAL EQUITY SHARE S

                                   SUBSCRIPTION AGREEMENT


        THE OFFERJNG OF SECURITIES DESCRIBED HEREIN HAS NOT BEEN REGISTERED UNDER
        THE UNfI'ED STATES SECURITIES ACT OF 1933, AS AMENDED (TBE "SECURITIES ACT"),
        OR UNDER A.."N SECURITIES LAWS OF ANY STATE OF THE UNITED STATES OR ANY
        OTHER ruRI SDICTION.   THIS OFFERING IS MAD E PURSUANf TO REGULA TlON S OR
        REGULATION D UNDER SECTION 4(a)(2) OF SAID ACT, WHICH EXEMPTS FROM SUCH
        REGISTRATION CERTAIN TRANSACTIONS. FOR 11-IlS REASON, THESE SECURITIES WILL
        BE SOLD ONLY TO INVESTORS WHO MEET CERTAIN MINIMUM SUITABILITY
        QUALIFICATIONS DESCRIBED HEREIN.

        A PROSPECTIVE INVESTOR SHOULD BE PREPARED TO BEAR THE ECONOMIC RlSK OF AN
        INVESTMENT IN THE COMPANY FOR AN INDEFINITE PERIOD OF TJME BECAUSE THE
        SHARES OR MEMBER'S INTERESTS HAVE NOT BEEN REGISTERED UNDER THE
        SECURITIES ACT OR THE LAWS OF ANY OTHER JURlSDICTION, AND, THEREFORE,
        CANNOT BE SOLD UNLESS THEY ARE SUBSEQUENTLY REGISTERED OR AN EXEMPTION
        FROM REGISTRATION IS AVAILABLE. THERE IS NO OBLIGATION OF THE ISSUER TO
        REGISTER THE SHARES OR MEMBER'S INTERESTS UNDER THE SECURITIES ACT OR THE
        LAWS OF ANY OTHER JURISDICTION. TRANSFER OF THE SHARES OR MEMBER'S
        INTERESTS 1S ALSO RESTRlCTED BY THE TERMS OF THE AMENDED AND RESTATED
        COMPANY AGREEMENT RELATING THERETO.




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                                        HOPEWE LL-Pil., OT PROJE CT, LLC

                                    A TE XA S LIMITE D LIABILITY COMP ANY




        Hopewell-Pilot Project, LLC
        c/o Willis Group
        1400 Post Oak Blvd. Suite 200
        Attention: Tom Tatham
        Telephone: (713) 547~531
        E-mail: TTolham@H opewellTX.com

        Ladies & Gentlemen:

                 This SUBSCRJPTION AGREEMENT (the "Agreement") is entered into as of the Closing Date
        specified on the signature page hereto by and among HOPEWELL~PILOT PROJECT, LLC, a Texas limited
        liability company (the "Company"), and the investor identified on the signature page hereto (the
        "Investor"). Investor seeks admission to the Company as a New Member and the acquisition of Shares
        representing Member's Interest in the Company (the "Interest") in accordance with the Company's
        Amended and Restated Company Agreement (the "Company Agreement"). Capitalized terms used
        herein and not otherwise defined shall have the meanings set forth in the Compn.ny Agreement.

                1.     Capital Commitment. In accordance with the terms of the Company Agreement and
        this Agreement, the Investor agrees to contribute to the Company the amount of capital specified under
        the heeding "Capital Commitment" set forth on the signature page hereto, or such lesser amount as the
        Company shall accept as determined by the Company's Managers in their sole and absolute discretion.

                  2.    Adoption. If the Investor is accepted as a New Member pursuant to paragraph 3 below,
        the Investor hereby agrees to adhere to and be bound by all terms and provisions of the Company
        Agreement and to perform all obligations therein imposed upon a New Member with respect to the
        Interest.

                .3.    Acceptance of Subscription; Delivery of Company Agreement. The Investor
        understands and agrees that this subscription is made subject to the following terms and conditions:

                        (a)     The Managers jointly reserve the right to review the suitability of any person
        desiring to acquire an Interest and, in connection with such review, to waive such suitability standards as
        to such person as the Managers jointly deem appropriate under applicable Jaw;

                         (b)     The Managers may accept or reject the Investor's subscription, in whole or in
        part, and the Investor's subscription shall be deemed to be accepted by the Managers only when both of
        the Company's Managers have executed Investor's Agreement and Investor has been admitted to the
        Company as a New Member in accordance with the terms of the Company Agreement;

                        (c)     The Managers shall have no obligation to accept subscriptions in the order
        received;

                       (d)     The Interest to be created on account of this subscription shall be created only in
        the name of the Investor, and the Investor agrees to comply with the terms of the Company Agreement


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        and to execute any and all further documents necessary in connection with becoming a New Member of
        the Company;

                       (e)     The Investor hereby requests and authorizes the Managers to enter Investor's
        name on the Schedule of Members us holder of the Interest;

                        (t)      The Investor has consulted to the extent deemed appropriate by the Investor with
        the Investor's own advisers as to the financial, tax, legal and related matters concerning an investment in
        Interests and on that basis believes that an investment in the Interests is suitable and appropriate for the
        Investor;

                          (g)     The Investor is aware of and understands each of the risks and potential conflicts
        of interest inherent of an investment in the Company as set forth in the Memorandum;

                        (b)      The Managers, acting jointly, may transfer proceeds into an account in the name
        of the Company, and in such event, the Managers shall not be liable for any losses arising from such
        transfer and shall be fully indemnified by the Company out of the assets of the Company to the fullest
        extent permitted by law for any and all actions, costs, claims, damages, demands or expenses (including
        any reasonable attorneys' fees) suffered or incurred by the Managers as a result of such transfer;

                        (i)    The Investor hereby undertakes in respect of the Interest that the Investor: (i)
        shall comply with the restrictions on trans fer of the Interest contained in the Company Agreement; and
        (ii) acknowledges and agrees that, in the event that Investor defaults on its capital contribution obligation
        to the Company, the Interest may be subject to forfeiture and other consequences as specified in the
        Company Agreement; and

                         (j)      The Investor hereby declares that the Investor is not in the course of winding up
        or under liquidation or judicial management.

                4.      Conditions to Closing. Tue Company's obligations hereunder are subject to acceptance
        by the Managers of the Investor's subscription, and lo the fulfillment at the time of, or prior to, the
        Closing Date of each of the following conditions:

                         (a)      The representations and warran ties of the Investor contained in this Agreement
        shall be true and correct as of the Closing Date; and

                       (b)      All proceedings in connection with the transactions contemplated hereby and all
        documents and instruments incident to such transactions shall be satisfactory in substance and form to the
        Managers, and the Company shall have received all such counterpart originals or certified or other copies
        of such documents as the Managers may request.

                        The Investor's obligations hereunder are subject to the fulfillment at the time of, or prior
        to, the Closing Date of the following condition; an Amended and Restated Company Agreement of Title
        Rover, LLC reasonably acceptable to Investor.

                5,      Investor Representations. In connection with the Investor's acquisition of the Interest
        as of the Closing Date, the Investor makes the following representations and warranties on which the
        Managers and the Company arc entitled to rely:

                         (a)     The Interest will be held under the type of ownership identified on the signature
        page hereto.


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                          (b)      lf the Investor has checked that the Investor is not a "U.S. Person," as such term
        is used in Internal Revenue Service Form W-9, under the subheading "Tax Jurisdiction" below, the
        Investor hereby represents, under penalties of perjury, that the Investor (i) is a "ncn-UiS, Person" (as
        defined below); (ii) will not transfer or deliver any interest in the Interests except in accordance with the
        restrictions set forth in the Company Agreement; (iii) will notify the Managers immediately if the
        Investor becomes a U.S. Person at any time during which the Investor holds or owns any Interests; (iv) is
        not subscribing on behalf of or funding its Capital Contribution with funds obtained from U.S. Persons;
        and (v) it was o.ot in the United States at the time that the Interests were offered to it, and it was not in the
        United States at the time such offer was accepted; and (vi) it is not acting on behalf of, and it will not fund
        any portion of its subscription with assets of, any entity that is a "benefit plan investor" within the
        meaning of the United States Department of Labor Reg. Section 2510-101.3. For purposes of this section
        5(b), a "non-U.S. Person" is an individual who is not a citizen or resident of the United States or a
        corporation, partnership, estate or trust which is not a U.S. entity. Except for offers and sales 10
        dlscretionary or similar accounts held for the benefit or account of a oon-U.S. person by a U.S. dealer or
        other professional fiduciary, all offers to sell and offers to buy the Interests were made to or by the
        Investor while the Investor was outside the United States and at the time that the Investor's order to buy
        the Interests was originated the Investor was outside the United States.

                         (c)      The Investor is an "accredited investor" within the meaning of Regulation D of
        the U.S. Securities Act of 1933, as amended (the "Securities Act") and a "qualified client" as defined in
        the Investment Advisers Act of 1940, as amended, on the basis identified by checking the box. adjacent to
        the applicable representation on Schedule 2, Part 1 in the case of an individual investors and on Schedule
        2, Part 2 in the case of entity investors; and in the case of entity investors, represents to such further
        matters by checking the boxes adjacent to the applicable further representations on Schedule 2, Part 2
        (which checked representations in Schedule 2, Parts 1 and 2 are hereby incorporated by reference). The
        Investor (i) is not subject to any of the "Bad Actor" disqualifications (each, a "Disqualification Event")
        described in Rule 506(d)(l) under the Securities Act and (ii) will, subsequent to the date hereof, notify the
        Company's Managers of {A) any Disqualification Event relating to the Investor not previously disclosed
        and (B) any event that would, with the passage of time, become a Disqualification Event relating to the
        Investor. The Investor is acquiring the Interest solely for the Investor's own account and not directly or
        indirectly for the account of any other person whatsoever for investment and not with a view to, or for
        sale in connection with, any distribution of the Interest. The Investor does not have any contract,
        undertaking or arrangement with any person to sell, transfer or grant a participation to any person with
        respect to the Interest. The Investor has such. knowledge and experience in financial and business matters
        that the Investor is capable of evaluating the merits and risks of the investment evidenced by the
        Investor's acquisition of the Interest, and the Investor is able to bear the economic risk of such
        investment.

                          (d)    No representations or warranties have been made to the Investor by the
        Company, the Company's Managers, or any agent thereof, other than as set forth in the Company
        Agreement, and this Agreement. The Investor h11.S bad access to such information concerning the
        Company as the Investor deems necessary to enable the Investor to make an informed decision
        concerning the acquisition of the Interest. The Investor has bad access to the designated representatives
        oftbe Company, its Managers and the opportunity to ask questions of, and receive answers satisfactory to
        the Investor from, the Managers and or such designated representatives concerning the offering of
        Interests in the Company generally. The Investor has obtained all additional information requested by the
        Investor to verify the accuracy of all information furnished in connection with the offering of Interests in
        the Compnny.

                         (e)      Toe Investor understands that the Interest has not been registered under the
        Securities Act, or any securities law of any state of the United States or any other jurisdiction in reliance
        on an exemption for private offerings, and the Investor acknowledges that it has received and carefully
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        read the Confidential   Private Placement Memorandum of the Company (the "Memorandum"), the
        Company Agreement and this Agreement. The Investor understands that Doherty & Doherty LLP acts as
        counsel for the Company, the Company's Managers. No separate counsel has been retained to act on
        behalf of the Investors. No attorney-client relationship exists with any other person by reason of such
        person making an investment in the Company. The Investor has received and reviewed all such other
        information of the Company as the Investor or its representatives and advisers have requested.

                         (f)      The Investor is aware that the Investor must bear the economic risk of investment
        in the Interest for an indefinite period of time, possibly until final winding up of the Company, because
        the Interest bas not been registered under the Securities Act, there is currently no public market therefor,
        and the Interest cannot be sold unless subsequently registered under the Securities Act or an exemption
        from such registration is available. The Investor understands that the Company is under no obligation,
        and does not intend, to effect any such registration at any time. The Investor also understands that sales
        or transfers of the Interest are further restricted by the provisions of the Company Agreement and, 11S
        applicable, securities Jaws of other jurisdictions and the states of the United States, and that the Interest
        will not be transferred or disposed of except in accordance with the terms of this Agreement, the
        Company Agreement and registration under the Securities Act, or pursuant to an applicable exemption
        therefrom

                         (g)      The execution and delivery of the Company Agreement and this Agreement, the
        consummation of the transactions contemplated thereby and the performance of the obligations
        thereunder will not conflict with or result in any violation of or default under any provision of any other
        agreement or instrument to which the Investor is a party or any license, permit, franchise, judgment,
        order, writ or decree, or any statute, rule or regulation, applicable to the Investor.

                         (b)    The Investor bas fuJl power and authority to make the representations referred to
        in this Agreement, to acquire the Interest pursuant to this Agreement and the Company Agreement and to
        deliver the Company Agreement and this Agreement. The Company Agreement and this Agreement
        create valid and binding obligations of the Investor and are enforceable against the Investor in accordance
        with their terms, except as enforcement may be limited by applicable bankruptcy, insolvency,
        reorganization, arrangement, moratorium or other similar laws affecting creditors' rights, and subject to
        general equity principles and to limitations on availability of equitable relief, including specific
        performance.

                         (i)     The Investor confirms that the Investor has been advised to consult with the
        Investor's attorney regarding legal matters concerning the Company and lo consult with independent tax
        advisers regarding the tax consequences of investing in the Company. The Investor acknowledges that it
        understands that any anticipated United States federal or state income true benefits may not be available
        and, further, may be adversely affected through adoption of new laws or regulations or amendments to
        existing laws or regulations. The Investor acknowledges and agrees that the Company has made no
        warranty or assurance regarding the ultimate availability of any tax benefit, to the Investor by reason of
        the Investor's investment in the Company.

                         G}       The Investor acknowledges and agrees that (i) information relating to the identity
        of the Investor shall appear on the Schedule of Members and may appear on the financial statements of
        the Company, and (ii) other Members shall receive such information and may share such information with
        their advisors and oilier parties pursuant to the terms of the Company's Confidentiality Agreement.

                        (k)     The Investor is knowledgeable and experienced in evaluating investments and
        experienced in financial and business matters and is capable of evaluating the merits and risks of
        investing in the Interests. The Investor has evaluated the risks of investing in the Interests, and has
        determined that the Interests arc a suitable investment for the Investor. In evaluating the suitability of an

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        investm ent in the Interests, the Investor bas not relied upon any representations or other information
        (whether oral or written) other than as set forth herein, in the Memorandum, the Company Agreement, the
        other agreements and independent investigations made by the Investor or represcntativefs) of the Investor.
        With respect to its investment in the Company, the Investor is not relying upon any other information,
        representation or warranty by the Company, the Managers of the Company or any designated
        representatives of the Company.

                         (l)      The Investor is aware and acknowledges that (i) the Company bus limited or no
        significant operating history; (ii) there is no assurance of any income from an investment in the Company;
        (iii) any federal and/or state income tax benefits which may be available to the Investor may be lost
        through the adoption of new laws or regulations or changes to existing Jaws and regulations or differing
        interpretations of existing laws and regulations, in certain circumstances with retroactive effect; and
        (iv) the Investor, in making this investment, is relying, if at all, solely upon the advice of such Investor's
        personal tax advisor with respect to the tax. aspects of III! investment in the Company.

              6.     Company's and Manager's Representations. The Company and the Company's
        Managers make the following representations and warranties on which the Investor and its counsel are
        entitled to rely:

                         (a)    The execution and delivery of the Company Agreement and this Agreement, the
        consummation of the transactions contemplated thereby and the performance of the obligations
        thereunder will not conflict with or result in any violation of or default under any provision of any other
        agreement or instrument to which the Company is a party or any judgment, order, writ or decree
        applicable to the Company.

                         (b}    No suit, action, claim. investigation or other proceeding is pending or, to the best
        of the Company's or the Manager's knowledge, is threatened in writing against the Company which
        questions the validity of the Company Agreement or this Agreement or any action taken or to be taken
        pursuant to the Company Agreement or this Agreement, or which could otherwise have a material adverse
        effect on the Company.

                         (c)   The Company Agreement and this Agreement create valid and binding
        obligations of the Company and are enforceable against the Company in accordance with their terms.

                 7.     Trustee, Agent, Representative or Nominee. If the natural person or entity completing
        this Agreement is acting as trustee, agent, representative or nominee for the Investor (such person or
        entity, the "Agent"), the Agent agrees that the representations, warranties and agreements made herein are
        made by such Agent (a) in respect of such Agent and (b) in respect of the underlying subscriber on whose
        behalf the Agent is acting. The Agent represents and warrants that such Agent has all requisite power and
        authority to execute this Agreement and perform the obligations under this Agreement on the underlying
        Investor's behalf. The Agent agrees to provide any additional documents and information that the
        Company reasonably requests relating to itself or the underlying Investor.

                 8.         Survival of Agreements, Representaticns and Warranties; Indemnlflcatlon.

                          (a)    All agreements, representations and warranties contained herein or made in
        writing by or on behalf of the Investor, the Company or the Managers of the Company in connection with
        tile transactions contemplated by this Agreement shall survive the execution of this Agreement and the
        Company Agreement, any investigation at any time made by the Investor, the Company or the Managers
        of the Company or on behalf of any of them and the sale and acquisition of the Interest and payment
        therefor.


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                         (b)     The Investor acknowledges that the Investor understands the meaning and legal
        consequences of the representations and warranties made by the Investor herein. Such representations
        and warranties are complete and accurate, shall be complete and accurate as of the Closing Date and may
        be relied upon by the Company's Managers and the Company. If there should be any material change in
        any of the representations or warran ties or other information regarding the Investor set forth herein,
        including at any time following the Closing Date, the Investor agrees to notify the Company's Managers
        in writing as promptly as reasonably practicable.

                         (c)     The Investor agrees that the foregoing representations and warran ties, and all
        other information regarding the Investor set forth herein, may be used as a defense in any actions relating
        to the Company, the Managers of the Company or the private placement of the Interest, and that it is only
        on the basis of such representations, warranties and other information that the Company's Managers may
        be willing to accept this Agreement on behalf of the Company, The Investor acknowledges that the
        Company, and the Managers of the Company shall rely on such information, representations and
        warranties on an ongoing basis.

                9.       Binding Effect. This Agreement sball be binding upon the Investor and the heirs,
        personal representatives, successors and assigns of the Investor, The Investor agrees that neither this
        Agreement nor any rights which may accrue to the Investor hereunder may be transferred or assigned
        without the consent of the Company's Managers, which may be granted or withheld in its sole discretion
        or otherwise 11s provided in the Company Agreement. This Agreement shall survive the admission of the
        Investor to the Company and shall, if the Investor consists of more than one person, be the joint and
        several obligations of all such persons.

                 10.     Severabillty. If any provision of this Agreement is held to be invalid or unenforceable in
        any jurisdiction, such provision shall be deemed modified to the minimum extent necessary so that such
        provision, as so modified, shall no longer be held to be invalid or unenforceable. Any such modification,
        invalidity or unenforceability shall be strictly limited both to such provision and to such jurisdiction, and
        in each case to no other. Furthermore, in the event of any such modification, invalidity or
        unenforccability, this Agreement shall be interpreted so as to achieve the intent expressed herein to the
        greatest extent possible in the jurisdiction in question and otherwise as set forth herein.

                11.      Confidentiality. The Investor bas carefully read the Company's Confidentiality
        Agreement and by execution thereof understands, including without limitation the confidentiality and
        non-solicitation undertakings set forth therein which shall apply to the Investor, whether or not this
        Agreement is accepted by the Company.

               12.     Counterparts. bis Agreement may be executed in multiple counterparts, each of
        which shall be deemed an original but all of which together shall constitute one and the same
        instrum ent.

                13.      Amendments. Neither this Agreement nor any term hereof may be changed, waived,
        discharged or terminated orally, but only with the written consent of the Investor and the Company.

                14.      Governing Law. The interpretation and enforceability of this Agreement and the rights
        and liabilities of the parties hereto shall be governed by the laws of the State of Texas. To the extent
        permitted by the Act and other applicable law, the provisions of this Agreement shall supersede any
        contrary provisions of the Act or other applicable law.




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                THE UND ERSIGNED lNVE STOR HEREB Y REPRESENTS THAT (I) THE UNDERSIGNED INVES TOR HAS
                CARE FULLY READ AND IS FAMILI AR WITH TIDS AGREEMENT AND THE COMPANY AGREEMENT ,
                (n) THE INFORMATION CONTAINED HEREIN IS COMPLETE AND ACCURATE AND MAY BE RELIED
                UPON, AND (111) TitE EXECUTION OF TI-IE FOLLOWING SIGNAnJRE PAGE SHALL CONSTITIJTE THE
                EXECUT ION OF TIIlS AGREEMENT AND TIIE COMJ'ANY AGREEME NT BY TilE lNVE STOR IN THE
                EVENT THAT THE INVES TOR IS ADMITTE D TO TIIE COMPANY AS A NEW MEMBER.

                IN WITNESS WHEREOF, the undersigned bas executed this Subscription Agreement as of this
                29th day of September, 2016.


        THE COMPANY :                                                          INDIVIDUAL INvESTOR:




        :27;~:_
        By: THOMASP. TATHAM
        Its: Manager
                                                                    (Signature)

                                                                    (Signature)


                                                                    (Print Name As It Will Be Registered With This
                                                                    Investment)

        BY: MARK A. WILLIS
        Its: Manager                                                ENTITY INVESTOR:
                                                                    EnSource Investments LLC


                                                                    By:---':
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        Closing Date:                                               Capital Commitment: $530,000.00*
        (To be completed by the Company)                            *$205,000.00 through exercise of convertible
                                                                    promissory note; $20,000 on or before
                                                                    September 30, 2016; $205,000 on or before
                                                                    October 28, 2016; $100,000 on or before
                                                                    December 31, 2016.
        Please provide the following information:
                D       Individual                        D         Irrevocable Trust
                D       Community Property                D         Living Trust or Revocable Trust w/ _grantors.
                D       Partnership                       D         Corporation
                □       Limited Liability Company         D         Other:                           _
        If the Investor is an entity, as of the Closing Date, there are four (4) holders of its outstanding securities
        (other than short-term paper) (please fill in the blank specifying the number of beneficial owners).




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                 Ill Social Security or Taxpayer LD. Number__9i                            ~3~1<J-t--+1--------
                                                                                 ~l_-~;3-7~1
                  □ U.S. Investor/ U.S. Person                      D Non-U.S. Investor/ Foreign Person
                  D Exempt under Code Section 40l(a)                □ Exempt under Code Section 892
                  D Exempt under Code Section 50l(c)3

        Residential/Business Address (Domicile for Blue Sky filing purposes):

                  70D W. E Street, Unit 3804
                  San Diego, California 92101

        Registered Address     (if applicable):

                              -~--------~-------~--~--···•·•'"··-·-····---···-··                                 ...   ·-···

                  ·······--·····------~~-~-----~~~-~---~--------

        Mailing Address (select one):

        [XJ       Please use the Subscriber's Residential/Business Address as the Mailing Address
        [)        Please use the Subscriber's Registered Address as the Mailing Address
        []        Please use the following as the Subscriber's Mailing Address:




        METHOD OF DELIVERY OF ACCOUNT COMMUNICATIONS. Account Communications may be
        delivered via the e-mail address provided on this page. Should this means of transmission be unacceptable,
        Account Communications will be delivered via facsimile or physical delivery if the following box is checked:
        0    E-mail transmission is declined, please send Account Communications via facsimile or physical delivery


        For ail account communications, please send via e-mail as well as physical delivery.




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                       IN WITNE SS WHE REOF, this Amended and Restated Company Agreement has
        been entered into by the parties as of this 29th day of September, 2016.

                                                           THE COMPANY

                                                           HOPEWELL-PILOT PROJECT, LLC

                                                           By/2,C<U/~
                                                                 MANAGER

                                                           By:      ~c:U~
                                                                 MANAGER


                                                           NEW MEMBERS


                                                           INDIVIDUAL:


                                                           By:------------

                                                           By: ------------
                                                           Name:         _



                                                           ENTITY:



                                                           EnSource Investments LLC

                                                           By:       ~ ~
                                                                       .......,._,_----
                                                                                   , --

                                                           Name:      ::fu>:;r ~-'{)fi._l'(__i'Y.'.u__
                                                           Title:    dlAN'A 6€:TL




                        Signature Page to the Amended and Restated Company Agreement of
                                            Hopewell-Pilot Project, LLC




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                                                                       ANNEX}


                                                                        PARTl

      Individual Investor Representations.

      All defined terms have tbe meanings provided lo them in the Agreement; the following representations are
      incorporated by reference into the Agreement.

      The Investor makes the following representations regarding the Investor's status as an Accredited Investor and
      a Qualified Client by checking the box adjacent to each representation below:

      D         (a)       Accredited Investor: The Investor is an individual and bas a net worth, either individually or
                          upon a joint basis with the Investor's spouse, that exceeds $1,000,000, excluding the net
                          equity value of such individual's primary residence, if any, but including as a liability the
                          amount by which any indebtedness secured by such residence exceeds the value of such
                          residence (within the meaning of such terms as used in Rule 50 l under the Securities Act}, 1 or
                          has had an individual income in excess of $200,000 for each of the two most recent years, or a
                          joint income with the Investor's spouse in excess of$300,DOO in each of those years, and has a
                          reasonable expectation of reaching the same income level in the current year.

      D         (b}        Qualified Client: The Investor is an individual that {i) has a net worth, together with assets
                           held jointly with the Investor's spouse, of more than $2,000,000, excluding the net equity
                           value of such individual's primary residence, if any, but including as a liability the amount by
                           which any indebtedness secured by such residence exceeds the value of such residence {within
                           the meaning of such terms as used in Rule 501 under the Securities Act),? or (ii) is a Qualified
                           Purchaser.




      ' Any indebtedness secured by such primary residence tlmt the Investor incurred within the 60 day period preceding the date of the sale
      of securities pursuant to this Agreement (other than indebtedness incurred as a result of the acquishion of the Pl'Ul1lll'Y residence) will be
      included as 11 liability for purposes of this calculation, even if the total amount of indebtedness securing such primary residence does
      not exceed the value of such residence.


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                                                          ANNE X!

                                                           PART2

      Entity Investor Representations,

      All defined terms have the meanings provided to them in the Agreement; the following representations are
      incorporated by reference into the Agreement.

      The Investor makes the representations regarding the Investor's status as an Accredited Investor and a
      Qualified Client by checking tire box adjacent to the each representation below:

      ACCREDITED INVESTOR REPRESENTATION (check the box adjacent to 11t least one applicable
      representation below):

      □       (i)     The Investor is a corporation, partnership, business trust or limited liability company, not
                      formed for the purpose of acquiring an Interest, or an organization described in section
                      50l(c)(3) of the Code, in each case with total assets in excess ofSS,000,000,

              (il)    The Investor is an entity in which all of the equity owners (or a living trust or other revocable
                      trust in which all of the granters to such trust) qualify under Annex 1, Part l, clause (a) or (b),
                      or clause (i), (iii), {iv), (v} or this clause (ii) of this Annex I, Part 2.

      0       (ill)   The Investor is an employee benefit plan and either all investment decisions are made by a
                      bank, savings and loan association, insurance company, or registered investment advisor, or
                      the Investor has total assets in excess of $5,000,000 or, if such plan is a self-directed plan,
                      investment decisions are made solely by persons who are Accredited Investors.

      0       (iv)    The Investor is an irrevocable trust with total assets in excess of$5,000,000 whose acquisition
                      is directed by a person with such knowledge and experience in financial and business matters
                      that such person is capable of evaluating the merits nnd risks of the prospective investment.

      0       (v)     The Investor is a bank, insurance company, investment company registered under the
                      Investment Compnny Act, a broker or dealer registered pursuant to Section 15 of the United
                      States Securities Exchange Act of 1934, as amended, a business development company, n
                      Small Business Investment Company licensed by the United States Small Business
                      Administration, a plan with total assets in excess of$5,000,000 established and maintained by
                      a state for the benefit of its employees, or a private business development company as defined
                      in Section 202(a)(22) of the Investment Advisers Act.

      □       (vi)    The Investor cannot make any of the representations set forth in clauses (i) through (v) above.




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      QUALIFIE D CLIENT REPRESENTATION (check the box adjacent to at least one applicable
      representation below):
      D           (i)          The Investor is n· corporation, partnersbip, association, joint-stock company, trust, or any
                               organized group of persons, whether incorporated or not, that has a net worth of more than
                               $2,000,000. If the Investor belongs to this investor category, please either check clause {iii)
                               below, if applicable, or affirmaJively deny the applicability of clause (iii) below.

                  ("Li)        The Investor is a corporation, partnership, association, joint stock company, trust, or any
                               organized group of persons, whether incorporated or not, that is a Qualified Purchaser. If the
                               Investor belongs to this investor category, please either check clause (iii) below, if
                               applicable, or affmnatively deny the applicability of clause (iii) below.

      D           (fu")        The Investor is a corporation, partnership, association, joint-stock company, trust, or any
                               organized group of persons, whether incorporated or not. that is an Excluded Company, and
                               all of the Investor's equity owners (and all of their respective equity owners) are Qualified
                               Clients.

      II                       The Investor bas checked either or both of clauses (i) or (ii) above and affirma tively denies
                               applicability of this clause (iii).

      D           (vi)         The Investor cannot make any of the representations set forth in clauses {i) through (iii) above.



      FURTHER ENTITY INVESTOR REPRESENTATIONS

      The Investor makes the following representations by checking the box adjacent to the correct response to each
      representation below:

      El   True      D False                   The Investor is neither an "investment company" under the Investment
                                               Company Act nor docs the Investor rely upon the exclusions from the
                                               definition of "investment company" provided for in Section 3(c)(l) or J(c)(7)
                                               of the Investment Company Act,

      D True            Ill   False            The Investor was not organized for the purpose of acquiring the Interest,

      Ell True       O        false            The Investor has made investments prior to the date hereof or intends to make
                                               investments in the near future and each beneficial owner of interests in the
                                               Investor has and will share in the same proportion to each such investment,

      D True                  False            The Investor's investment in the Company will not constitute more than 40%
                                               of the assets of the Investor (including any capital commitments that may be
                                               drawn upon demand by the Investor).

      Ii True        D        False            The governing documents of the Investor require that each beneficial owner
                                               of the Investor, including, but not limited to, shareholders, partners and
                                               beneficiaries, participate through their interest in the Investor in all of the
                                               Investor's investments and that the profits and losses from each such
                                               investment are shared among such beneficial owners in the same proportions
                                               as aJl oilier investments of the Investor. No such beneficial owner may vary
                                               the Investor's share of the profits and losses or the amount of the Investor's
                                               contribution for any investment made ~y the Investor.

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      If any of the above statements are marked "False," then the Investor will have, as of the Closing Date, four (4)
      holders of its uutstanding securities (other than short-term paper) (please fill in the blank specifying the
      number of beneficial owners).

      The Investor is:

      □True           False            an "employee welfare benefit plan" or an "employee pension benefit plan" as
                                       defined in sections 3(1) and 3(2), respectively, ofERISA; or

      □True           False    (2)     a plan described in section 4975{e)(l) of the Code; or

      □True           False    (3}     an entity that is deemed to be a "benefit plan investor" under the DOL
                                       Regulations because all or part of its underlying assets include "plan assets"
                                       by reason of a plan's investment in the entity (including, by way of example
                                       only, a partnership not qualifying as an operating company within the
                                       meaning of the DOL Regulations, which is 25% or more owned by entities
                                       described in (I) or (2) above); or

      D True          False    (4)     subject to any rules or regulations similar to the fiduciary provisions of
                                       ERlSA and/or the prohibited transaction provisions of Section 4975 of the
                                       Code.

      If clause (3) above is marked "True," please provide the percentage that the Investor's "plan assets" holdings
      bear to its aggregate asset holdings (based upon value as of the Closing Date):            % (the "Plan Asset
      Percentage").

      □True           False            The Investor is a "private foundation" as described in Section 509 of the
                                       Code.

      □True           False            The Investor is subject to the Bank Holding Company Act of 1956. as
                                       amended.

      ffl True   D    False            To the best of the Investor's knowledge, the Investor does not control nor is it
                                       controlled by or under common control with, any other Investor.

      Please check the box next lo each applicable statement and provide appropriate information in response to
      each such statement:

      □True           False            The Investor is subject to federal or state freedom of information (FOIA)
                                       statutes or other similar statutes in each of the following jurisdictions. (ff a
                                       similar statute is applicable, please specify the applicable statute along with
                                       the applicable jurisdiction, to the extent known):



      □ True     a Folse               One or more of the Investor's beneficial owners is subject to federal or stale
                                       FOIA statutes or other similar statutes in each of the following jurisdictions.
                                       (If a similar statute is applicable, please specify the applicable statute along
                                       with the applicable jurisdiction, to the extent known):




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      0 True   d    False   The Investor is a public agency, department, office or pension plan. (Please
                            specify type and applicablejurisdiction.);



      □ True   II   False   One or more of the Investor's beneficial owners is a public agency,
                            department, office or pension plan. (If known, please specify type of owner
                            and applicable jurisdiction below. ):




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